             Case 8:21-mj-00043-DUTY Document 5 Filed 02/01/21 Page 1 of 4 Page ID #:161



AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (USAO rev. 12/20)            o   Original     o Duplicate   Original




                                           UNITED STATES DISTRICT COURT
                                                                              for the
                                                                Central District of California


                           In the Matter of the Search of                         )
                                                                                  )
                                                                                           Case No. 8:21-MJ-00043
                                                                                  )
                              The premises located at
                                                                                  )
                                                                                  ) **NOTE CHANGES MADE BY THE COURT
                                  16 Brittlestar Ln
                                                                                  )
                                 Ladera Ranch, CA
                                                                                  )
                                                                                  )

                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:        Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
 of the following person or property located in the Central District of California (identify the person or describe the property to be searched
 and give its location):

         See Attachment A-4

          I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
 described above, and that such search will reveal (identify the person or describe the property to be seized):

         See Attachment B-2.


            YOU ARE COMMANDED                    to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
         [8J in the   daytime 6:00 a.m. to 10:00 p.m.           0    at any time in the day or night because good cause has been established.
          You must give a copy of the warrant and a receipt for the property taken to the person from whom, or from whose
 premises, the property was taken, or leave the copy and receipt at the place where the property was taken.


           The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
  as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
  through a filing with the Clerk's Office.



                                      1126/202 @ 12:3Opm                                         lsi Autumn D. Spaeth
  Date and time issued:                                                                                           Judge's signature


                               Santa Ana, CA                                              Hon. Autumn D. Spaeth, U.S. Magistrate Judge
  City and state:                                                                                               Printed name and title



  AUSA: Paul C. LeBlanc 213-393-6933
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AO 93C (Rev. 8/18) W8IT8Dt by Telephone of Other Reliable Electronic Means (page 2)

                                                                              Return

                                          Date and time warrant executed:                     Copy of warrant and inventory left with:
Case No.:
  'Z5; 21- /,t(-(}-       OOO~3            1/:J.7/:;'oJ{             OCOO                     It /5f'11fle<iM- L-n ~                ~.,,,1., CA.
Inventory made in the presence of:            NfA
Inventory of the property taken and name of any person(s) seized:




                                                                              Certification


              I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
    designated judge.




    Date:

                                                                                       3d                  Printed naie and title
                 Case 8:21-mj-00043-DUTY Document 5 Filed 02/01/21 Page 3 of 4PagePage ID #:163
                                                                                          of __ 2_
FD-597 (Rev. 4-13-2015)

                                        UNITED STATES DEPARTMENT OF JUSTICE
                                                   FEDERAL BUREAU OF INVESTIGATION

                                                    Receipt for Property
Case ID:     266T -LA-3372325
                           01/27/2021                                item (s) listed below were:
           On (date)
                                                                    o    Collected/Seized
                                                                    o    Received From
                                                                    D    Returned To
                                                                     o   Released To

(Name)      Russel Brian Taylor

 (Street Address)         16 Brittlestar Lane

 (City)    Ladera Ranch, CA 92694




 Description ofItem (s):

  1. Black Benchmade Knife with Sheath

  2. Tactical Medical Bag

  3. Tactical Backpack with Contents

  4. Black lpad inside Black Case with Stylus

  5. Three IWatches

  6. IMac Silver Laptop, Serial Number C02DF760MD6M              in Gray Laptop Case with power cord

  7. Baofeng Handheld Radio

   8. Red Baseball Hat with American Flag and "Q" Pin

   9. Black Smokey the Bear Shirt

   10. Black Bullet Proof Vest with Knife Inside Black Backpack

   11. Hardcore Hammers Axe with Red Handle

   12. Black lpad in Black Case

    13. Three (3) Baofeng Radios with Chargers

    14. Two (2) Camouflage Tactical Vests

    15. Gold Iphone 12

    16, Silver and White lphone 12

    17. Red Baseball Hat with OCSD Pin

    18. Tactical Shovel

    Received By:
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    Printed Name/Title:· ~                         6'r(("rz~   ~~           )-
                                                                                           of --- 2
                Case 8:21-mj-00043-DUTY Document 5 Filed 02/01/21 Page 4 of 4 PagePage2ID #:164
FD-597 (Rev. 4-13-2015)

                                       UNITED STATES DEPARTMENT OF JUSTICE
                                             FEDERAL BUREAU OF INVESTIGATION
                                              Receipt for Property
Case ID:     266T -LA-3372325
                                                         item (s) listed below were:
           On (date)      01/27/2021
                                                         o   Collected/Seized
                                                         o   Received From
                                                         D   Retumed To
                                                         D    Released To

 (Name)     Russel Brian Taylor

 (Street Address)      16 Brittlestar Lane

 (City)    Ladera Ranch, CA 92694




 Description ofItem (s):

  19. Riot Mask

  20. Tactical Medical Bag




    Received By:
                                                                     Received From:    {\\ot    pce.se()~ in
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                                                                     Printed Name/Title:   __   ...:..tJ--4If--AJ--------
